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LOVE, TRUTH, PEACE, FREEDOM AND JUSTICE

; Highest Customer Satisfaction
“= Among Autco Insurers in Texas,

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